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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-0429V
                                         UNPUBLISHED


    JEFFREY CROSSE,                                           Chief Special Master Corcoran

                         Petitioner,                          Filed: May 13, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                           Table Injury; Influenza (Flu) Vaccine;
                                                              Shoulder Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Jessica Olins, Maglio Christopher & Toale, PA, Washington, DC, for petitioner.

Mollie Danielle Gorney, U.S. Department of Justice, Washington, DC, for respondent.

                                     RULING ON ENTITLEMENT1

      On March 21, 2019, Jeffrey Crosse filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that he received an influenza (“flu”) vaccine on
November 22, 2017, and subsequently suffered left shoulder injuries. Petition at 1-3.
The case was assigned to the Special Processing Unit of the Office of Special Masters.

       On May 13, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, Respondent states that “petitioner has satisfied the criteria set forth in
the revised Vaccine Injury Table and the Qualifications and Aids to Interpretation, which

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  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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affords petitioners a presumption of causation if onset of SIRVA occurs within forty-eight
hours after receipt of a seasonal flu vaccination and there is no apparent alternative
cause.” Id. at 5-6. Respondent further agrees that the medical records demonstrate that
Petitioner has experienced the residual effects of his SIRVA for more than six months,
and that therefore, Petitioner has satisfied all legal prerequisites for compensation under
the Act. Id. at 6.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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